    Case: 1:15-cv-02234 Document #: 78 Filed: 01/12/18 Page 1 of 3 PageID #:558




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KI CHUL SEONG, an individual,                )
and OPEC ENGINEERING CO., LTD.,              )
a Korean Corporation,                        )
                                             )
               Plaintiffs,                   )
                                             )
       v.                                    )       Civil Action No. 15 CV 2234
                                             )
PAPS USA, LLC,                               )
an Illinois Limited Liability Company;       )       Honorable Judge Manish Shah
PUNGKUK EDM WIRE                             )
MANUFACTURING CO.,                           )       Magistrate Daniel Martin
a Korean Corporation; MACT CO., LTD,         )
a Korean Corporation;                        )
and DOES 1 through 10, inclusive,            )
                                             )
                                             )
               Defendants.                   )


            UNOPPOSED MOTION BY DEFENDANT PAPS USA, LLC
      TO STAY THE CASE PENDING LITIGATION OF THE PATENTS-IN-SUIT
      AGAINST DEFENDANT PUNGKUK EDM WIRE MANUFACTURING CO.

       Pursuant to the inherent power of the court and Rule 21 of the Federal Rules of Civil

Procedure, Defendant and Counterclaimant PAPS USA, LLC, (“PAPS USA”) by and through its

undersigned counsel, hereby respectfully moves to stay the case against PAPS USA pending the

outcome of the litigation of the patents-in-suit against Pungkuk EDM Wire Manufacturing Co.

(“Pungkuk”).

       This Motion is brought on the following grounds:

       1.      PAPS USA has been sued on the grounds that it allegedly imported and sold

allegedly infringing products from Pungkuk. Therefore, it is a peripheral defendant, or the




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    Case: 1:15-cv-02234 Document #: 78 Filed: 01/12/18 Page 2 of 3 PageID #:559



“customer suit exception” applies, and the alleged claims asserted against PAPS USA should be

stayed.

          2.     PAPS USA submits herewith a Memorandum of Law in Support of this Motion,

which is incorporated herein by reference.

          3.     James Y. Kim and Kalai L. Wineland, counsel for Defendants, met and conferred

with John K. Park and Mark L. Sutton, counsel for Plaintiffs, by telephone on November 28, 2017,

and by email on November 29, 2017. Counsel for Plaintiffs agreed not to oppose this Motion.

          WHEREFORE, PAPS USA respectfully requests that the Court enter an order staying the

case against PAPS USA pending disposition of the litigation of the patents-in-suit against

Pungkuk.



          Respectfully submitted, this 12th day of January, 2018.


                                               By:    /s/ Eric Y. Choi
                                               Eric Y. Choi (06292553)
                                               NEAL, GERBER & EISENBERG LLP
                                               2 N. LaSalle Street, Suite 1700
                                               Chicago, Illinois 60602
                                               (312) 269-8000
                                               echoi@ngelaw.com

                                               James Y. Kim (6309428)
                                               Kalai L. Wineland (Wa, State Bar No 30259)
                                               AGORA Law, LLC
                                               2020 Maltby Rd Ste 7 PMB163
                                               Bothell, WA 98021
                                               Phone: 425-420-2333
                                               Fax: 425-420-2323
                                               jyk@agoralaws.com
                                               klw@ agoralaws.com

                                               Attorneys for Defendants and Counterclaimants




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    Case: 1:15-cv-02234 Document #: 78 Filed: 01/12/18 Page 3 of 3 PageID #:560



                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that, on this 12th day of January, 2018, the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF system, which

will send a notice of electronic filing to CM/ECF participants in this case.



                                                      By:   /s/ Eric Y. Choi

                                                      Eric Y. Choi (06292553)
                                                      NEAL, GERBER & EISENBERG LLP
                                                      2 N. LaSalle Street, Suite 1700
                                                      Chicago, Illinois 60602
                                                      (312) 269-8000
                                                      echoi@ngelaw.com
